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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
09-40027-FDS

                             UNITED STATES OF AMERICA


                                              v.


                  WILLIAM SCOTT DION, CATHERINE FLOYD,
               CHARLES ADAMS, GAIL THORICK, MYRON THORICK,
                 GARY ALCOCK and KENNETH SCOTT ALCOCK


             REPORT AND RECOMMENDATION ON MOTION FOR FUNDS

                                        April 9, 2010
DEIN, M.J.

       This case involves a 20-count indictment for conspiracy in violation of 18 U.S.C.

§ 371, tax evasion in violation of 26 U.S.C. § 7201, filing false tax returns in violation of

26 U.S.C. § 7206(1), obstructing the IRS in violation 26 U.S.C. § 7212(a), and willful

failure to file tax returns in violation of 26 U.S.C. § 7203. There are seven defendants,

five of whom have court-appointed counsel. Gary Alcock has retained his own counsel.

Charles William Adams has refused to file a financial affidavit and request court-

appointed counsel, or to retain his own counsel, so he is appearing pro se.

       On January 11, 2010, the court adopted this court’s Report and

Recommendation and allowed the defendants’ “Motion for Funds for Scanning of

Discovery Documents,” by which the defendants sought $27,913.00 to scan

approximately 285,000 documents into searchable PDF files and then to load those

documents onto a hard drive, with the costs to be divided among the five defendants
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with court-appointed counsel: William Scott Dion, Catherine Floyd, Gail Thorick, Myron

Thorick and Kenneth Scott Alcock. (Docket No. 68). This matter is presently before

the court on the motion, filed on behalf of the defendant Catherine Floyd,1 for additional

funds for scanning of discovery documents. (Docket No. 97). By this motion, the

defendants are requesting additional funds in the amount of $4,450.00 to Bates number

285,000 pages of documents (at one cent per page) and to provide hard drives with all

the documents thereon to each of the defendants with court-appointed counsel

($100.00 for duplication of the documents onto the hard drive and $300.00 for the

actual hard drive per defendant).2

       After hearing, this court recommends that the motion be allowed, subject to the

proviso that the defendants confirm that the funds previously authorized were

insufficient to pay for the copying of the hard drives and providing such hard drives to

each defendant with court-appointed counsel.3 This court further recommends that the

requested costs ($4,450.00) be shared among the five defendants with court-appointed

counsel. This court finds that the parties have been working diligently to have the

volumes of materials put into a usable form. The additional funds are necessary so

that the documents can be numbered and thereby located and identified. The


       1
           This court appointed Ms. Floyd’s counsel as lead defense counsel on the most
efficient way to review/copy the voluminous documents in this case.
       2
           Ms. Floyd will have the original and the other four defendants will be provided with
duplicate hard drives.
       3
           By their prior motion, the defendants indicated that they had planned on using the
initial award for copying the hard drive and providing copies to the defendants with court-
appointed counsel. It appears that the original award was not sufficient. Defendants with
private counsel will pay for their own copy of the hard drive.

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defendants are using a company, acceptable to the government, that submitted the

lowest bid, and the defendants are using their efforts to keep the costs of this process

as low as possible.

      Therefore, this court recommends to the District Judge to whom this case is

assigned that the Amended Motion for Additional Funds (Docket No. 97) be

ALLOWED, as provided for herein.

                                                    / s / Judith Gail Dein
                                                  JUDITH GAIL DEIN
                                                  United States Magistrate Judge




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